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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

 Melinda and Mark Loe, et al.,

                 Plaintiffs,

         v.                                  Case No. 23-cv-1527 (NEB/JFD)

 Willie Jett, et al.,

                 Defendants.


                               NOTICE OF APPEARANCE

       The undersigned attorney hereby notifies the Court and counsel that Patrick C.

Elliott shall appear as counsel of record for Amicus Freedom From Religion Foundation.



September 10, 2024


Respectfully Submitted,

                                                       Patrick C. Elliott (#0397792)
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